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                 Exhibit 6
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From: Lukas Macniak <Lukas@abrbuilders.com>
Date: March 12, 2019 at 8:23:53 AM EDT
To: MW <mw@ltncor.com>
Subject: Re: 336 E 112th street - opportunity zone

Thank you Mark, I do understand and thanks for looking at it.

I would also like to discuss the loan you gave me and Bolek, please let me know what is good
for you to meet or talk about it.

Lukas

Sent from my iPhone

On Mar 11, 2019, at 3:58 PM, MW <mw@ltncor.com> wrote:

Thanks for sending this to me.
But I have to pass on this. It’s not really the kind of deal I am looking for and I have a finite amount of
capital to put to work so I need to stay tight to what I do best. Also, I can’t handle more than one real
development type deal at a time.
But I appreciate the opportunity.

MW

From: Lukas Macniak <Lukas@abrbuilders.com>
Sent: Monday, March 11, 2019 2:21 PM
To: MW <mw@ltncor.com>
Subject: 336 E 112th street - opportunity zone

Mark,

This is a development I’m doing in East Harlem, right now we done with piling and
starting concrete work about 15-16 months to completion.

Please see some attachments- plans and a capital chart done by our partner. Also,
a sheet from a broker re: condo sale, with all SF etc.

The way I see it would be possible, you can buy 80% (all other partners out, I think
I can convince them to sell) and just leave us and leave construction loan in place.
In general partners have different points of view and they can’t agree between a
condo/rental or opportunity zone and sale now.
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Total capital invested by other partners (80%) to date is about $3.8M I think they
would sell it at about $4.5M, we also need about $700K in capital (soft and hard
cost) to be funded still.
The total would be then at $5.2M equity to take over this deal and finish, which I
think is a great deal.

We can also discuss selling our stake if needed.

I’m sure you will have questions.

Best

Lukas Macniak
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